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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

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LAZARE KAPLAN INTERNATIONAL INC., :
Plaintiff,
Case No. 11 Civ. 9490 (ALC)
- against -
KBC BANK .N.V., in its own right and as successor-in-__: DECLARATION OF
interest to Antwerp Diamond Bank N.V., DR. KRIS WAGNER
Defendant. :
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DR. KRIS WAGNER, pursuant to 28 U.S.C. 1746, declares as follows:

1. I am a partner with the law firm Holmes Kirby in Brussels, Belgium. I received
degrees in philosophy (1993) and law (1995, lic. iur.; 2007 PhD) from Leuven University, and an
LL.M. from Harvard Law School in 1997. I have authored five books on topics of Belgian civil
procedure, my last book being a comprehensive manual on civil procedure in Belgium. I have
been practicing as an attorney-at-law since 1995 and was an associate professor at Leuven
University from 2000 to 2007. My firm represents Lazare Kaplan International Inc. (hereinafter
“Lazare”) in connection with cases filed by KBC Bank N.V. and Antwerp Diamond Bank N.V.
(collectively, “KBC”) in the court of commerce of Antwerp, Belgium, division Antwerp under
general docket numbers A/10/02453 and A/15/13374 (the “Antwerp Actions”). I am the Holmes
Kirby partner in charge of this representation. I make this declaration based on my personal
knowledge and personal involvement as counsellor in the Belgian court proceedings described
herein.

2. On May 22, 2018, in connection with the Belgian criminal investigation of KBC’s

alleged embezzlement of Lazare’s diamond sales proceeds referenced in Chief Inspector Van de
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Gucht’s March 28, 2018 letter (previously provided to the Court), access to certain files collected
by Belgian criminal authorities (“KBC Criminal File”) was granted to Lazare in accordance with
standard Belgian procedures.

. Under Belgian law and procedure, Lazare is permitted to maintain and use copies
of the documents contained in the KBC Criminal File.

4, Attached hereto as Exhibit 1 is a true and correct copy of a February 7, 2018
Official Report (without exhibits) of the detectives involved in the aforementioned criminal
investigation of KBC and ADB, which was contained in the KBC Criminal File.

5. Attached hereto as Exhibit 2 is a true and correct English translation of Exhibit 1.

6. Attached hereto as Exhibit 3 is a true and correct copy of a February 16, 2018
Official Report (without exhibits) of the detectives involved in the aforementioned criminal
investigation of KBC and ADB, which was contained in the KBC Criminal File.

i Attached hereto as Exhibit 4 is a true and correct English translation of Exhibit 3.

8. Attached hereto as Exhibit 5 is a true and correct copy of a March 30, 2018 Official
Report (without exhibits) of the detectives involved in the aforementioned criminal investigation
of KBC and ADB, which was contained in the KBC Criminal File.

9. Attached hereto as Exhibit 6 is a true and correct English translation of Exhibit 5.

10. Attached hereto as Exhibit 7 is a true and correct copy of an April 6, 2018 Official
Report (without exhibits) of the detectives involved in the aforementioned criminal investigation
of KBC and ADB, which was contained in the KBC Criminal File.

11. Attached hereto as Exhibit 8 is a true and correct English translation of Exhibit 7.
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12. Attached hereto as Exhibit 9 is a true and correct copy of an April 27, 2018 Official
Report (without exhibits) of the detectives involved in the aforementioned criminal investigation
of KBC and ADB, which was contained in the KBC Criminal File.

13. Attached hereto as Exhibit 10 is a true and correct English translation of Exhibit 9.

14. The aforementioned Official Reports of the detectives involved in the
aforementioned criminal investigation of KBC and ADB further demonstrate that the Belgian
criminal investigation into KBC and ADB relate to the same set of facts at issue in Lazare’s First
Amended Complaint filed in the present action, and that Article 4 of the First Chapter of the
Belgian Code of Criminal Procedure would require the stay of any civil litigation brought by
Lazare against KBC in Belgium relating to the theft and/or embezzlement of Lazare’s diamond
sales proceeds.

15. Attached hereto as Exhibit 11 is a true and correct copy of a February 7, 2018 email
from Atul Nandankar (the Director of ICT Applications Support at KBC Bank — New York
Branch) to Diane Grimmig, General Counsel and Chief Compliance Officer of KBC, which was
contained in the KBC Criminal File.

16. Attached hereto as Exhibit 12 is a true and correct copy an April 13, 2018 email
from Atul Nandankar (the Director of ICT Applications Support at KBC Bank — New York
Branch) to Herman Van Hecke, the Chief Legal Advisor of KBC Group NV, which was contained
in the KBC Criminal File.

17. Attached hereto as Exhibit 13 is a true and correct copy of an April 17, 2018 letter
(without Annexes) from KBC’s counsel, Filiep Deruyck, to Mr. P. Gaudius, the Examining
Magistrate in charge of the Belgian criminal investigation of KBC, which was contained in the

KBC Criminal File.
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18. Attached hereto as Exhibit 14 is a true and correct English translation of Exhibit
13.

19. Attached hereto as Exhibit 15 is a true and correct copy of an additional February
16, 2018 Official Report (without exhibits) of the detectives involved in the aforementioned
criminal investigation of KBC and ADB, which was contained in the KBC Criminal File.

20. Attached hereto as Exhibit 16 is a true and correct English translation of Exhibit
15.

21. Attached hereto as Exhibit 17 is a true and correct copy of the Minutes of the Board
of Directors of ADB dated May 29, 2009 (which itself attaches a “Framework Agreement For
Credit Provision By Antwerp Diamond Bank NV With Guarantee By KBC Bank NV”), which
was contained in the KBC Criminal File.

22. Attached hereto as Exhibit 18 is a true and correct English translation of Exhibit
17.

I declare under penalty of perjury that the foregoing is to the best of my knowledge true

and correct, or a true and correct representation of my opinion, and that this Declaration was

Dr. Kris Wagner

KRIS WAGNER
ATTORNEY-AT-LAW
HOLMES KIRBY
kris. wagner@holmeskirby.com

executed on May 29, 2018.

